                      Case 1:23-cv-10210-VSB Document 47 Filed 03/04/24 Page 1 of 1
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                    Southern District
                                                  __________  DistrictofofNew York
                                                                           __________


          Securities and Exchange Commission                       )
                             Plaintiff                             )
                                v.                                 )      Case No. 23-cv-10210(VSB)
                         Ahmed et al.                              )
                            Defendant                              )

                                                      APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

         Plaintiff, Securities and Exchange Commission                                                                        .


Date:          03/04/2024                                                                     /s Ariel Atlas
                                                                                            Attorney’s signature


                                                                                          Ariel Atlas, 5508437
                                                                                        Printed name and bar number
                                                                                 Securities and Exchange Commission
                                                                                      New York Regional Office
                                                                                    100 Pearl Street, Suite 20-100
                                                                                      New York, NY 10004-2616
                                                                                                  Address

                                                                                            atlasa@sec.gov
                                                                                              E-mail address

                                                                                             (212) 336-9083
                                                                                             Telephone number



                                                                                               FAX number


            Print                        Save As...                                                                   Reset
